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                                                        6
                                                        7                       IN THE UNITED STATES DISTRICT COURT

                                                        8                            FOR THE DISTRICT OF ARIZONA

                                                        9    Daniel Fellner,
4455 E. Camelback Road, Suite E-261




                                                                                                                 Case No. 2:19-cv-01719-DJH
                                                       10
      Phoenix, Arizona 85018




                                                                                Plaintiff,
        Weiss and Moy, P.C.




                                                                                                                 REPORT OF SETTLEMENT
                                                       11
                                      (480) 994-8888




                                                                                                                 DISCUSSIONS
                                                                    v.
                                                       12
                                                       13    Travel 4 All Seasons LLC,

                                                       14                       Defendant.
                                                       15
                                                       16          The parities provide this report of settlement discussions in response to the Court’s
                                                       17   August 4, 2020 Order [Dkt. 46]. The parties have been discussing settlement since the
                                                       18   inception of this action. Until recently, those discussions occurred through plaintiff Daniel
                                                       19   Fellner’s prior legal counsel, Richard Leibowitz, but unfortunately did not resolve the
                                                       20   matter. On August 14, 2020, Mr. Fellner, through undersigned counsel, sent a settlement
                                                       21   demand to defendant Travel 4 All Seasons LLC. On September 1, 2020, Travel 4 rejected
                                                       22   the settlement demand. The parties will continue to discuss settlement after the Court rules
                                                       23   on Travel 4’s pending Motion for Summary Judgment [Dkt. 33, et seq].
                                                       24          DATED this 1st day of September, 2020.
                                                       25                                    MotoSalas Law, PLLC
                                                       26
                                                                                             By:/s/Kenneth M. Motolenich-Salas
                                                       27                                    Kenneth M. Motolenich-Salas (027499)
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       Case 2:19-cv-01719-DJH Document 47 Filed 09/01/20 Page 2 of 2




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7                                   /s/ Robert S. Reder with permission
                                    Gregory W. Seibt
8                                   Alexandra Mijares Nash
                                    Robert S. Reder
9                                   Kiri T. Semerdjian
                                    4040 East Camelback Road, Suite 275
10                                  Phoenix, Arizona 85018
                                    Attorneys for Defendant
11
12                                CERTIFICATE OF SERVICE
13          I hereby certify that on this 1st day of September, 2020, I electronically transmitted
14   the foregoing document and all exhibits thereto to the Clerk’s Office using the CM/ECF
15   System for filing and transmittal of a Notice of Electronic Filing to all CM/ECF registrants
16   of record in this matter.
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19   By: /s/ Kenneth M. Motolenich-Salas
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